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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

____________________________________
                                    )
Charley Doe,                        )
             Plaintiff              )
                                    )                       Case No. 1:22-CV-00226-AJ
      v.                            )
                                    )
West Alton Marina, LLC, et al.,     )
                                    )
             Defendants.            )
____________________________________)

    DEFENDANTS’ JOINT SURREPLY TO PLAINTIFF’S REPLY TO OBJECTION TO
                 MOTION TO PROCEED UNDER PSEUDONYM

        Defendants West Alton Marina, LLC, Brian Fortier, Dierdre Tibbetts, and John Murray

jointly file a surreply to Plaintiff’s reply to the objection to James Doe’s motion to proceed under

pseudonym.1 Defendants understand that surreplies are not encouraged but there is a recent First

Circuit case to which Defendants seek to draw the Court’s attention.

        In Does 1-3 v. Mills, No. 22-1435, 2022 WL 2526989 (July 7, 2022), the First Circuit

evaluated the likelihood of success of a motion to proceed under pseudonym in the context of a

motion for preliminary injunction. Id. at *3. In doing so, the First Circuit recognized that there is

“strong presumption against the use of pseudonyms in civil litigation” that may only be overcome

by certain “exceptional cases.” Id. In determining if that case was “exceptional,” the First Circuit

used the Third Circuit’s multi-factor test from Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011).

Id. at *4-5.

        As discussed more thoroughly in the joint objection, Plaintiff has failed to demonstrate any

exceptional circumstances under the Megless test that would justify permitting Doe to proceed


1
 Defendant Allyson Shea has taken no position on Plaintiff’s Motion to Proceed Under Pseudonym at this time and,
accordingly, does not join this surreply.
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under pseudonym.

          Additionally, Defendants find it notable that counsel for Charley Doe does not deny

seeking media attention for the present civil suits. Instead, he directs the Court’s attention to prior

media attention in August 2021 when the arrests were made. That misdirection ignores the flurry

of news articles that have been published since the onset of civil litigation in May and June of

2022. Those news articles focus the attention on the Marina and its owners.2

                                             CONCLUSION

          For the foregoing reasons, Plaintiff’s motion to proceed under pseudonym should be

denied.

                                                           Respectfully submitted,

                                                           West Alton Marina, LLC
                                                           Brian Fortier
                                                           By Their Attorneys:
Dated: August 1, 2022                                      SHAHEEN & GORDON, P.A.


                                                           /s/ Olivia F. Bensinger
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2
  See, e.g., West Alton Marina owner, former manager ask that some lawsuits be moved to federal court, WMUR
(June 14, 2022), https://www.wmur.com/article/west-alton-marina-lawsuits-federal-court/40278166#; West Alton
Marina remains silent, bans media from property, Laconia Daily Sun (May 26, 2022),
https://www.laconiadailysun.com/news/local/west-alton-marina-remains-silent-bans-media-from-
property/article_e48a0c90-dd1e-11ec-96c3-6b8de461daf1.html; Marina plaintiffs seek $6M in assets to be used to
pay potential damages, Concord Monitor (May 23, 2022), https://www.concordmonitor.com/Marina-suit-plaintiffs-
seek-attachments-of-$6m-46485403; Former Lakes Region marina employees say their manager sexually exploited
them, bragged of ties to Gilford police, NHPR (May 17, 2022), https://www.nhpr.org/nh-news/2022-05-17/former-
lakes-region-marina-employees-lawsuit-allege-manager-sexual-assault-harassment; New allegations made against
owner, manager of West Alton Marina, WMUR (May 13, 2022), https://www.wmur.com/article/new-allegations-
owner-manager-west-alton-marina/39996519.

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Dated: August 1, 2022                                 John Murray
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Dated: August 1, 2022                                 Deirdre Tibbetts
                                                      By Her Attorneys:
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                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic filing (NEF).


                                                      /s/ Olivia F. Bensinger
                                                      Olivia F. Bensinger




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